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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND
                                    GREENBELT DIVISION


KENNETH SNOWDEN, et al.;

        Plaintiffs,                                             Case No. 8:18-CV-00160-JPM
                                                                Hon. Peter J. Messitte
v.

PRINCE GEORGE’S COUNTY
DEPARTMENT OF CORRECTIONS,
a municipal agency, et al.;

        Defendants.
_______________________________________________________________________________________________________

     PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

        Plaintiffs, by and through their undersigned counsel, hereby submit the following

Response to Defendants’ Motion to Dismiss. The defendants make a single technical

argument regarding the verbiage used to identify the government entity being sued in

addition to what amounts to request for clarification regarding the claims for which certain

forms of relief are sought. They make these arguments within an untimely motion filed more

than a month past its deadline. Because of its untimeliness as well as the reasons articulated

below, this Court should deny Defendants’ motion.

                                             ARGUMENT

        On April 5, 2018, Defendants filed a Motion to Dismiss (Dkt. 21) Plaintiffs’ Amended

Complaint (Dkt. 12). Defendants raise two principal arguments in their motion to dismiss,

related to the legal identities and capacities of the Defendants. Plaintiffs address these below

by first, agreeing to substitute “Prince George’s County, Maryland” as the formal legal entity,




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and second, clarifying that the individual capacity damages claim against Defendant

Reverend James E. Penn applies only to Counts III – VI.

       First, Defendants state that “Prince George’s County Department of Corrections” is

not an independent legal entity, but rather a subdivision of “Prince George’s County,

Maryland.” See Dkt. 21-1 at 3-4. Relatedly, Defendants state that all official-capacity claims

against the individual Defendants, Prince George’s Department of Corrections employees

Mary Lou McDonough, Colonel Mark E. Person, Correne Labbé, and Reverend James E. Penn,

must be amended to constitute official-capacity claims against employees of Prince George’s

County, Maryland. See Dkt. 21-1 at 4-6. Accordingly, Plaintiffs consent to the substitution of

“Prince George’s County, Maryland” as the first-named defendant, and as the identified

employer of the individual defendants. See, e.g., Abunaw v. Prince George's Corr. Dep't, No.

13-cv-2746, 2014 U.S. Dist. LEXIS 99903, at *4 (D. Md. July 23, 2014) (“[I]t would elevate

needlessly form over substance to dismiss completely a claim because Plaintiff named the

specific county entities that allegedly harmed him as opposed to the county itself.”). The fact

that Plaintiffs added “Department of Correction” to the Defendants’ name did not create any

confusion, did not prejudice the defendants in any way, and in fact, provided the defendants

with particularized information about which governmental unit’s conduct the plaintiffs

sought to challenge.

       Second, Defendants request that all claims “for compensatory and punitive damages”

asserted against official capacity County employees be dismissed. See Dkt. 21-1 at 5. This

request misunderstands Plaintiffs’ Complaint. The Complaint seeks injunctive and

declaratory relief against all Defendants as to all claims. See Dkt. 12 at 19-20, Prayer for

Relief ¶¶ 1-2. But it only seeks “compensatory and punitive damages” as to the individual


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capacity defendant, Reverend James E. Penn, under 42 U.S.C. § 1983. See Dkt. 12 at 20, Prayer

for Relief ¶ 3. Compensatory and punitive damages claims against county employees in their

individual capacities are permitted under 42 U.S.C. § 1983. See, e.g., Lovelace v. Lee. 472 F.3d

174, 193-94 (4th Cir. 2006); Abdul-Mateen v. Phipps, No. 7:11-CV-00051, 2012 U.S. Dist.

LEXIS 23216, at *9 and *18 (W.D. Va. Feb. 22, 2012) (denying motion to dismiss because “the

Eleventh Amendment does not bar Plaintiff’s claims under the First Amendment for

monetary relief against the defendants in their individual capacities”). Plaintiffs’ Counts III

– VI allege unconstitutional and discriminatory action by an individual-capacity actor in

violation of 42 U.S.C. § 1983. Plaintiffs agree that no damages are available under RLUIPA.

See, e.g., Rendelman v. Rouse, 569 F.3d 182, 189 (4th Cir. 2009) (finding no RLUIPA claim for

damages available against defendants in their individual capacities). Accordingly, Plaintiffs

clarify that they only seek damages as against Defendant Reverend Penn, in his individual

capacity, under Counts III – VI.


                                         CONCLUSION

       For the foregoing reasons, Plaintiffs request that Defendants’ motion to dismiss be denied,

and the caption amended to substitute “Prince George’s County, Maryland” for “Prince George’s

County Department of Corrections.”

                                                          Respectfully submitted,

                                                          CAIR NATIONAL LEGAL DEFENSE
                                                          FUND

                                                          BY:     /s/ Lena F. Masri
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                                             * Licensed in VA, not in D.C. Practice
                                             limited to federal matters.

Dated: April 19, 2018




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                                CERTIFICATE OF SERVICE


       I hereby certify that on April 19, 2018, I electronically filed the foregoing document

with the Clerk of the Court for the District of Maryland using the ECF System, which will send

notification to the registered participants of the ECF System as listed on the Court’s Notice

of Electronic Filing.

                                                         /s/ Gadeir Abbas




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